Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.51 Filed 05/18/21 Page 1 of 43




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN

SCOTT ROGERS, on behalf of himself and
all others similarly situated,

                       Plaintiff,                     FIRST AMENDED CLASS ACTION
v.                                                            COMPLAINT

CHW GROUP, INC. d/b/a CHOICE                          Case No. 21-cv-226
HOME WARRANTY,

                       Defendant.

                                       INTRODUCTION

       1.      On November 17, 2020, Plaintiff Scott Rogers replied to an email from

Defendant’s employee, writing:

            I am no longer interested in Choice. I have been harassed all day by your
            company and I am not interested in signing up for a service that employs
            such predatory tactics.

       2.      Defendant’s response was swift and to the point:

                                       Excuse me for living.

       3.      As if to double down, Defendant followed up this response minutes later—in the

same email chain—with another email advertising its services and called Plaintiff to advertise its

services less than 45 minutes later.

       4.      Defendant and companies like it are the reason the Telephone Consumer

Protection Act (“TCPA”) exist and remains a vital consumer protection tool.

       5.      The cavalier attitude demonstrated in Defendant’s response to one of Plaintiff’s

many do-not-call requests is hardly out of character, if the numerous lawsuits (almost 40 since

2017) and public complaints are to be believed.


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Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.52 Filed 05/18/21 Page 2 of 43




       6.       According to those complaints, Defendant’s response to do-not-call requests

ranges from ignoring them, to hanging up when the request is made, to rude comments like that

made to Plaintiff, to attempting to solicit payment for placement on the do-not-call list, as was

the case in this BBB complaint (left September 3, 2020):

             On one call I spoke with a rep and told them to stop calling (9/2)… On
             the most recent call (9/3), after I told them to stop calling, the rep told me
             the way to get off the phone list was to sign up for their service. I told
             him that's not how it works. I said I would report the company if they
             continued contacting me. He was defiant and asked who I would report
             them to. At this point, I consider their continued contact to be harassment
             and want it stopped.

       7.       This specific action arises out of Defendant, CHW Group, Inc.’s (“Defendant”),

practice of sending autodialed telemarketing text messages and placing autodialed and

prerecorded voice telemarketing calls to individuals without prior express written consent, after

those individuals revoked their consent, without the policies and procedures required to be

implemented prior to making telemarketing calls, and to individuals on the National Do-Not-Call

Registry—violations of three separate provisions of the TCPA, 47 U.S.C. § 227, et seq.

       8.       Accordingly, Plaintiff brings this TCPA action on behalf of himself and six

classes of similarly situated individuals under 47 U.S.C. §§ 227(b) and 227(c).

                                 JURISDICTION AND VENUE

       9.       This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this action

arises under the TCPA, which is a federal statute.

       10.      This Court has jurisdiction over Defendant because Defendant conducts

significant business transactions in this District and has committed tortious acts in this District.

       11.      Venue is proper in this District because Defendant conducts significant amounts

of business transactions within this District. and because some of the wrongful conduct giving


                                                  2
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.53 Filed 05/18/21 Page 3 of 43




rise to this case occurred in, was directed to, and/or emanated from this District.

                                              PARTIES

       12.       Plaintiff Rogers is, and at all times mentioned herein was, a citizen and resident of

Big Rapids, Michigan.

       13.       Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47

U.S.C. § 153(39).

       14.       Defendant is, and at all times mentioned herein was, a New Jersey corporation

with its principal place of business at 1090 King Georges Post Road, Edison, New Jersey 08837.

       15.       Defendant is, and at all times mentioned herein was, a “person” as defined by 47

U.S.C. § 153 (39).

                                             THE TCPA

       16.       The TCPA was passed in 1991 to help prevent unwanted telephone calls and

solicitations, provide power to consumers to prevent unwanted solicitations, and rein in

unrestricted telemarketing. See 47 U.S.C. § 227, et seq.

       17.       Relevantly, the TCPA provides private rights of action for three types of

telemarketing-related conduct.

       18.       First, Section 227(b) of the TCPA prohibits initiating a telemarketing call using

an automatic telephone dialing system or prerecorded voice without the prior express written

consent of the called party.

       19.       “Prior express written consent” requires a signed writing that clearly authorizes

the seller to deliver to the person called advertisements or telemarketing messages using an

automatic telephone dialing system or an artificial or prerecorded voice. 47 C.F.R. §

64.1200(f)(9).


                                                   3
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.54 Filed 05/18/21 Page 4 of 43




       20.     This written agreement must clearly and conspicuously disclose that the calls

would be made using an automatic telephone dialing system or an artificial or prerecorded voice,

and that the person is not required to sign the agreement as a condition of purchasing any

property, goods, or services. Id. at (f)(9)(i)(A-B).

       21.     Consent can also be revoked, and most calls using an autodialer or pre-recorded

voice, even if not telemarketing, violate the § 227(b) if made after such a revocation.

       22.     A violation of § 227(b) carries statutory damages of $500 to $1,500 per call.

       23.     Second, the TCPA establishes a national “do not call” database of numbers not to

be called. In the Matter of Rules and Regulations Implementing the Telephone Consumer

Protection Act of 1991, 18 FCC Rcd. 14014 (“DNC Order”).

       24.     These regulations are codified at 47 CFR 64.1200(c)(1-2).

       25.     Specifically, a company may not initiate any “telephone solicitation” to a

telephone subscriber “who has registered his or her telephone number on the national do-not-call

registry of persons who do not wish to receive telephone solicitations that is maintained by the

Federal Government.” 47 CFR 64.1200(c)(2).

       26.     A violation of 47 C.F.R. § 64.1200(c) carries additional statutory damages of

$500 to $1,500 per call through § 227(c) of the TCPA.

       27.     Third, the TCPA specifically required the FCC to “initiate a rulemaking

proceeding concerning the need to protect residential telephone subscribers’ privacy rights to

avoid receiving telephone solicitations to which they object.” 47 U.S.C. § 227(c)(1).

       28.     The FCC was instructed to “compare and evaluate alternative methods and

procedures (including the use of … company-specific ‘do not call systems …)” and “develop

proposed regulations to implement the methods and procedures that the Commission determines


                                                  4
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.55 Filed 05/18/21 Page 5 of 43




are most effective and efficient to accomplish purposes of this section.” Id. at (c)(1)(A), (E).

        29.     Pursuant to this statutory mandate, the FCC established company-specific “do not

call” rules. In the Matter of Rules and Regulations Implementing the Telephone Consumer

Protection Act of 1991, 7 FCC Rcd. 8752 (Oct. 16, 1992) (“TCPA Implementation Order”).

        30.     The FCC found that “the company-specific do-not-call list alternative is the most

effective and efficient means to permit telephone subscribers to avoid unwanted telephone

solicitations.” Id. at 8765, ¶ 23.

        31.     However, recognizing that an honor system would probably be insufficient, the

FCC found that it “must mandate procedures for establishing company-specific do-not-call lists

to ensure effective compliance with and enforcement of the requirements for protecting

consumer privacy.” Id. at ¶ 24.

        32.     These regulations are codified at 47 CFR 64.1200(d)(1)-(7).

        33.     Specifically, these regulations require a company to keep a written policy,

available upon demand, for maintaining a do-not-call list, train personnel engaged in

telemarketing on the existence and use of its internal do-not-call list, and record and honor “do

not call” requests for no less than five years from the time the request is made. 47 CFR §

64.1200(d)(1, 2, 3, 6).

        34.     These policies and procedures prohibit a company from making calls for

telemarketing purposes1 unless they have implemented these policies and procedures. 47 CFR


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   The distinction between the use of “telephone solicitation” in relation to the national do-not-
call database and calls for “telemarketing purposes” in relation to the company-specific do-not-
call list is significant. “Telephone solicitation” excludes calls made to a person with whom the
company has as established business relationship, 47 CFR 64.1200(f)(14), which can be
established by a “voluntary two-way communication”. 47 CFR 64.1200(f)(5). But this business
relationship can be terminated by a “do not call” request. 47 CFR 64.1200(f)(5)(i).
“Telemarketing purposes”, on the other hand, includes any calls made for the purpose of
                                                  5
 Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.56 Filed 05/18/21 Page 6 of 43




64.1200(d).

          35.      Accordingly, all telemarketing calls violate the TCPA, unless Defendant can

demonstrate that it has implemented the required policies and procedures.

          36.      There is a private right of action to enforce 47 C.F.R. § 64.1200(d) through §

227(c):

                [S]ection 227(c)(5)… empowers ‘any person’ to sue for damages and
                injunctive relief for do-not-call violations ‘by or on behalf of’ a company.
                In accordance with this statutory provision, the Commission’s company-
                specific do-not-call rules provide that ‘[n]o person or entity shall initiate
                any call for telemarketing purposes to a residential telephone subscriber
                unless such person or entity has instituted procedures for maintaining a
                list of persons who request not to receive telemarketing calls made by or
                on behalf of that person or entity[.]’ 47 C.F.R. § 64.1200(d).

In re Dish Network, 28 FCC. Rcd. 6574, ¶ 29 (2013)

          37.      These requirements are separate but cumulative. In other words, a company must

comply with both the procedures for the company specific do-not-call list and the procedures for

complying with the national “do not call” database regulations. A failure to comply with either is

distinct a violation of 47 U.S.C. § 227(c).

          38.      Though some of these requirements mention “residential” telephones, they were

all extended to cover calls to cellular telephones as well as residential telephones. 47 CFR §

64.1200(e).

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encouraging the purchase or rental of, or investment in, property, goods, or services, regardless
of any consent or established business relationship. 47 CFR 64.1200(f)(12). In other words, prior
to making any telemarketing calls to anyone, regardless of relationship, a company must
implement the company-specific do-not-call regulations, but it only need to comply with the
national do-not-call registry provisions with respect to persons with whom it does not have an
existing established business relationship.
                                                     6
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.57 Filed 05/18/21 Page 7 of 43




                      PLAINTIFF ROGERS FACTUAL ALLEGATIONS

        39.    Plaintiff Rogers is the sole and primary user of a cellular telephone number

ending in 9154.

        40.    Plaintiff Rogers’ telephone number ending in 9154 has been on the National Do-

Not-Call Registry since November 8, 2016.

        41.    On approximately November 14, 2020, Plaintiff filled out Defendant’s quote

form.

        42.    Upon     information    and    belief,   this   quote    form    was    located   at

https://www.chwprice.com/a/a100/index.php?utm_source=hmfm&utm_campaign=10795592

(“CHW Price Site”).

        43.    Plaintiff filled in and submitted the quote form on his cellular telephone.

        44.    Shortly after, Plaintiff began receiving calls from Defendant, some of which used

live persons and some of which used prerecorded or artificial voice calls.

        45.    Beginning with the second call on November 16, Plaintiff informed each caller on

any call that he answered that he was no longer interested in Defendant’s services and asked

Defendant to stop calling him.

        46.    On November 17, Plaintiff also called Defendant back and relayed the same.

        47.    Nevertheless, the calls continued.

        48.    Plaintiff continued to request that Defendant stop calling him and explain that he

was no longer interested.

        49.    For example, on November 16, 2020 (at 4:24 PM in response to an email from

Account Executive for Defendant, Marc Rabie), November 17 (at 10:33 AM in response to an

email from Sales Executive for Defendant, Harry Sakkal), November 17 (at 3:53 pm in response


                                                 7
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.58 Filed 05/18/21 Page 8 of 43




to an email from Promotions Manager for Defendant, Igal Tadjiev), and November 17 (at 4:31

pm in response to an email from Sales Manager for Defendant Andrew Marks), Plaintiff wrote:

             I am no longer interested in Choice. I have been harassed all day by your
             company and I am not interested in signing up for a service that employs
             such predatory tactics.

       50.      Of these emails, only Mr. Tadjiev responded, two minutes after Plaintiff’s email,

writing “Excuse me for living.”

       51.      Plaintiff responded at 3:57, writing:

             Don’t harass potential customers. It’s highly unprofessional and instantly
             turns them off from wanting to employ your services. When a potential
             client says that they need more time or that they aren’t interested, respect
             that.

       52.      In response, at 3:59, as if to further rub it in, Defendant, through its employee Igal

Tadjiev, responded by sending Plaintiff details of Defendant’s 5 Year Total Plan.

       53.      The calls resumed 45 minutes later.

       54.      Fed up, on November 17, 2020, Plaintiff filed a complaint with the Better

Business Bureau (“BBB”).

       55.      In this complaint, Plaintiff wrote:

             I used the Choice Home Warranty site to obtain an appliance
             warranty/repair plan quote two days ago. Since that day I have received
             approximately 4-5 calls and just as many emails each day, even after
             indicating that I was no longer interested in their services due to their
             predatory tactics. Today when I again responded to an email that I was no
             longer interested in their services, I was met with the response, "Excuse
             me for living," by Igal Tadjiev. I was also contacted via email by reps
             Harry Sakal and Marc Rabie by email in addition to the reps who
             contacted me by phone whose names I don't have on hand. This type of
             harassment and responses are highly unprofessional. When a potential
             customer indicates that they need more time to make a decision or
             indicates that they are no longer interested, you should not continue to
             harass them with different reps.

       56.      The following day, Defendant (signing its emails as “The CHW Team”)

                                                  8
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.59 Filed 05/18/21 Page 9 of 43




responded, stating it sent an expedited request to its IT department to place Plaintiff’s

information on the do not call/do not email list, and asked for “up to 14 business days for

Plaintiff’s information to process”—which would have been December 8, 2020.

         57.     Plaintiff responded by writing:

               I am rejecting this response because: Your employees have been rude to
               me when I tell them I am no longer interested, multiple employees
               contact me in quick succession, and leave messages, even after speaking
               with the individuals and telling them to no longer contact me. This isn't
               just an "inconvenience," it is borderline harassment and completely
               unprofessional behavior. Fourteen more days of multiple calls a day,
               multiple messages a day, multiple emails a day is unacceptable.

         58.     Defendant responded nearly identically as it did previously.

         59.     The communications, of course, did not stop after the 14 business days.

         60.     Plaintiff received calls from Defendant on (including, but not limited to) January

13, February 12, and February 15.

         61.     Plaintiff also received text message communications from Defendant on January

13, 2021 and February 15, 2021.

         62.     In the January 13 text message, from telephone number 208-649-6123, Defendant

wrote:

               Scott, I’m Jen w/ Choice Home Warranty. Still need a home warranty? I
               can offer your 1st month at no-cost if we talk today! Call me! Text no to
               end.

         63.     It is clear this text came from Defendant because, in addition to Defendant’s self-

identification in this text message, calling back this number connects to Defendant (as discussed

in more detail below).

         64.     Plaintiff responded “No.” to this text.

         65.     Plaintiff subsequently received a text on February 15, from telephone number


                                                   9
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.60 Filed 05/18/21 Page 10 of 43




347-467-4988, which said:

             Scott, did you ever get a home warranty? If you didn’t, let’s set up a time
             to chat. $0 for the first month!

      66.       As discussed in more detail below, calling back this number connects to

Defendant.

      67.       In sum, Plaintiff received the following calls and texts:

                    Date                           Number                          Type

                 11/16/2020                     270-594-5944                       Call

                 11/16/2020                     231-751-0197                       Call

                 11/16/2020                     231-751-0197                       Call

                 11/16/2020                     231-751-0197                       Call

                 11/16/2020                     231-751-0197                       Call

                 11/17/2020                     231-751-0197                       Call

                 11/17/2020                     231-751-0165                       Call

                 11/18/2020                     231-751-0165                       Call

                 11/18/2020                     225-427-9398                       Call

                 11/19/2020                     732-314-4559                       Call

                 11/19/2020                     732-314-4559                       Call

                 11/20/2020                     732-314-4596                       Call

                 11/20/2020                     732-314-5220                       Call

                 11/23/2020                     732-314-6135                       Call

                 11/23/2020                     732-314-6135                       Call

                 1/13/2021                      208-649-6123                       Call


                                                 10
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.61 Filed 05/18/21 Page 11 of 43




                1/13/2021                     208-649-6123                        Text

                 2/12/21                      347-467-4988                         Call

                2/15/2021                     347-467-4988                        Text

                 2/15/21                      347-467-4988                         Call


         68.   Upon information and belief, there are additional calls not listed here that will be

found through discovery.

                     IDENTIFICATION OF DEFENDANT AS THE CALLER

         69.   Plaintiff was able to identify the calls as coming from Defendant through several

means.

         70.   First, the telephone numbers from which the calls came ring back to and connect

to Defendant when called back.

         71.   For example, as of March 2, 2021, calling telephone number 347-467-4988

(which made the February 12 call) connects to a recording that states “Hi, you’ve reached Choice

Home Warranty, thanks for calling back!” and invites the caller to press 1 “to go over your

custom home warranty quote now”.

         72.   Pressing 1 connects the caller to an automated message thanking the caller for

calling Choice Home Warranty, informing the caller that the call will be recorded, and

connecting the caller to an agent who identifies himself or herself as “Choice Home Warranty.”

         73.   The same identical process is true of telephone number 208-649-6123.

         74.   Similarly, calling telephone number 231-751-0197, which made several of the

calls in November 2020, connects the caller to an automated message thanking the caller for

calling Choice Home Warranty, informing the caller that the call will be recorded, and

connecting the caller to an agent who identifies himself or herself as “Choice Home Warranty.”
                                                11
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.62 Filed 05/18/21 Page 12 of 43




       75.     This same identical process is true of telephone number 231-751-0165, 225-427-

9398, and 270-594-5944.

       76.     Other calls to numbers that had previously called Plaintiff ring directly to hold

music before connecting to someone who identifies himself or herself as “Choice Home

Warranty.”

       77.     This is true for telephone numbers 732-314-4559, 732-314-4596, 732-314-5220

and 732-314-6135.

       78.     In all instances, calling the number back connects to a recording or person that at

every step of the way identifies himself or herself as being “Choice Home Warranty.”

       79.     Second, on the incoming calls and texts themselves, the caller (prerecorded or

otherwise) identified himself or herself as Choice Home Warranty.

       80.     For example, the prerecorded calls began “[t]his is Choice Home Warranty”

before going into the purpose of the call (to see whether Plaintiff was seeking a quote for a home

warranty).

       81.     The calls from live persons would begin similarly, with the caller stating “I am

[name] with Choice Home Warranty …”

       82.     See also the text messages quoted above, the first of which explicitly identifies it

as coming from Choice Home Warranty.

       83.     Third, an email was typically sent from Defendant to Plaintiff simultaneously

with (or immediately before or after) such calls.

       84.     For example, the email chain discussed above between Plaintiff and Defendant’s

employee Igal Tadjiev began with an email sent on November 17 at 3:51 PM—the exact same

time Plaintiff received a call from Defendant’s 231-751-0165 telephone number.


                                                12
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.63 Filed 05/18/21 Page 13 of 43




       85.     Other examples of this include:

    Number                Date           Time of Call     Time of Email         Email Sender

 231-751-0197        Nov. 16, 2020        3:57 PM            3:57 PM             Marc Rabie
                                                                            mrabie@choicehome
                                                                                warranty.com
 231-751-0197        Nov. 17, 2020        9:47 AM           9:47 AM             Harry Sakkal
                                                                            hsakkal@choicehome
                                                                                warranty.com

       86.     Fourth, while Plaintiff subsequently requested that Defendant stop placing calls to

him, the calls from Defendant began only after (and immediately after) Plaintiff filled out the

form on Defendant’s website.

                                    NATURE OF THE CALLS

       87.     All of the calls discussed herein were made to encourage Plaintiff’s purchase of

Defendant’s home warranty service.

       88.     Though the wording varied, the substance of the calls echoed the substance of the

text messages quoted above.

       89.     The calls were therefore all “telemarketing” and had a “telemarketing purpose”

under 47 C.F.R. § 64.1200(f)(13).

       90.     The calls after Plaintiff asked Defendant to stop calling also qualify as “telephone

solicitations” under 47 C.F.R. § 64.1200(f)(15).

       91.     Furthermore, each of these calls used either an automatic telephone dialing system

or an artificial or prerecorded voice.

       92.     For the calls made using an artificial or prerecorded voice—including, but not

limited to, the call on February 12—Plaintiff is aware that these telephone calls used a

prerecorded or artificial voice message because of his familiarity with normal human interaction,



                                                 13
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.64 Filed 05/18/21 Page 14 of 43




intonation, manners of speaking, and his inability to engage the prerecorded or artificial voice in

reciprocal, sensical communication or banter.

        93.     Plaintiff received other pre-recorded calls from Defendant but does not presently

recall the specific dates of those calls.

        94.     For the calls and texts made using an automatic telephone dialing system (all

calls), Plaintiff is aware that they used such equipment for several reasons.

        95.     First, when Plaintiff answered such calls, he was met with a brief and unnatural

pause before the caller spoke, suggestive of an automatic telephone dialing system that waits

until the recipient answers before transferring to a live agent.

        96.     Second, the calls occurred on a very consistent and set schedule, suggesting

automated blasts. For example, the January 13 call (which was followed by a text message) and

the February 15 call (which was followed by a text message) were both made to Plaintiff at

exactly 9:33 AM.

        97.     Relatedly, several of the calls, as detailed above, were accompanied

simultaneously by an email, suggesting the calls and emails were on a linked “blast” scheduler.

        98.     Third, one of the text messages invited Plaintiff to respond “no” to stop the texts,

which suggests the texts were sent and handled via automated means.

        99.     Fourth, Defendant required intervention of its “IT department” to “stop” further

calls to Plaintiff, suggesting a high degree of technological involvement in the outbound calls to

Plaintiff.

        100.    Fifth, upon information and belief, Defendant’s system operates by storing, using

a sequential number generator, telephone numbers in a database, and then, rather than dialing

numbers directly from that database, it crawls that database randomly or in sequence to produce


                                                 14
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.65 Filed 05/18/21 Page 15 of 43




numbers to be called or sent messages based on a variety of parameters.

        101.   Upon information and belief, the storage process uses a sequential number

generator.

        102.   Upon information and belief, Defendant’s database creates new records in its

database using auto incrementation.

        103.   Simply put, auto incrementation automatically generates sequential numeric

values every time a new record is to be inserted into the database table (i.e. when a new user

registers).

        104.   For example, the starting value for auto increment might be “1” for the first

record, and then for each subsequent row of data (i.e. a new record created when someone fills

out the form on Defendant’s website), the auto increment value increases.

        105.   In this example, when the second row of data is added, auto increment becomes

“2”, and so on for each new record.

        106.   Upon information and belief, in Defendant’s case, these database rows consist of,

among other things, the telephone numbers of Plaintiff and putative class members.

        107.   In other words, Defendant’s system stores telephone numbers to be called using a

sequential number generator (the auto-iterate function used to create and store new records

containing phone numbers in the database).

        108.   Defendant’s system also uses random or sequential number generation to

“produce” numbers to be called, upon information and belief.

        109.   Upon information and belief, Defendant’s system produces numbers to be called

by generating those numbers from the main database where numbers are initially “stored” into a

temporary sub-database, and it is from that sub-database that numbers are dialed.


                                               15
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.66 Filed 05/18/21 Page 16 of 43




         110.   In other words, when Defendant runs a calling “campaign” to call new leads or

prospective customers, it does not call every single number in the database.

         111.   Instead, its application is designed to filter through, in some order (random or

sequential), the telephone numbers, and to generate those numbers “chosen” into the sub-

database.

         112.   Upon information and belief, Defendant’s application uses a number generator to

move through the “main” database and pull numbers to be called.

         113.   For example, Defendant’s system can check database row 1 to see if it qualifies to

be “pulled” into the sub-database to be called during a particular done, and then, when that is

done, move to “row 2.”

         114.   Upon information and belief, the application moves its review from row 1 to row

2 using a function similar to the auto-increment function detailed previously—i.e. by using a

sequential number generator.

         115.   Upon information and belief, Defendant’s system also has the capacity to use

random numbers to randomly select rows from the database to be called (e.g. to call 100 random

people, Defendant’s system would 100 random numbers and use those numbers to pull the

corresponding record from the database).

         116.   The telephone numbers identified are then “produced” into the sub-database to be

called

         117.   Further, in this design, Defendant’s “main” database simply provides the range of

numbers to be generated into the sub-database.

         118.   The system produces numbers into the sub-database in some random or sequential

order, depending on the parameters of a particular calling campaign.


                                                 16
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.67 Filed 05/18/21 Page 17 of 43




        119.       It is these randomly or sequentially produced (from the main database into the

sub-database) telephone numbers in the sub-database that are actually called.

                                               CONSENT

        120.       As discussed above, all of Defendant’s calls and texts qualify as “telemarketing”

and some qualify as “telephone solicitations.”

        121.       Because Defendant’s text messages and calls constitute telemarketing, Defendant

was required to obtain prior express written consent from the persons to whom they made these

calls and texts.

        122.       Even prior to Plaintiff’s requests that Defendant stop calling, Defendant did not

have prior express written consent.

        123.       “Prior express written consent” is specifically defined by statute as:

        [A]n agreement, in writing, bearing the signature of the person called that clearly
        authorizes the seller to deliver or cause to be delivered to the person called
        advertisements or telemarketing messages using an automatic telephone dialing
        system or an artificial or prerecorded voice, and the telephone number to which
        the signatory authorizes such advertisements or telemarketing messages to be
        delivered.

        47 C.F.R. § 64.1200(f)(9).

        124.       This agreement must “include a clear and conspicuous disclosure informing the

person signing that … such a person authorizes the seller to deliver or cause to be delivered to

the signatory telemarketing calls using an automatic telephone dialing system or an artificial or

prerecorded voice” and that “[t]he person is not required to sign the agreement … as a condition

of purchasing any property, goods, or services.” 47 C.F.R. § 64.1200(f)(9)(i).

        125.       “Clear and conspicuous”, in turn, is defined as

               notice that would be apparent to the reasonable consumer, separate and
               distinguishable from the advertising copy or other disclosures.


                                                    17
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.68 Filed 05/18/21 Page 18 of 43




47 C.F.R. § 64.1200(f)(3).

       126.    None of Defendant’s disclosures qualify.

       127.    On the fourth page of Defendant’s CHW Price Site quote form (after entering zip

code, name, and email address), visitors are presented with the following page:




       128.    This disclosure is insufficient to constitute “prior express written consent” for

several reasons.

       129.    First, its placement and stylization serve to hide it against the rest of the page.

                                                 18
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.69 Filed 05/18/21 Page 19 of 43




           130.   It is placed below the button required to submit the form.

           131.   It is also in small white font against a busy background that is extremely difficult

to read.

           132.   In addition, on some mobile devices, the keyboard and/or autofill boxes hide the

disclosure altogether:




           133.   This is not just a device problem—it is due in large part to Defendant’s decision

to have the big red “Call” button rise with the keyboard (which raises the question of why it did

not do the same with the disclosure).

           134.   The problem is also apparent on an iPhone:
                                                   19
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.70 Filed 05/18/21 Page 20 of 43




       135.   While on desktop the keyboard does not block the disclosure, the disclosure may

not be visible depending on your monitor resolution and browser window size:




                                             20
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.71 Filed 05/18/21 Page 21 of 43




       136.    As such, it is possible—if not likely—that a person could fill out Defendant’s

quote form without ever seeing the disclosure related to “express consent” for phone calls,

through no fault of their own.

       137.    Similar problems exist on other sites which Defendant owns and operates. For

example, on https://www.choicehomewarranty.com/get-a-quote/start.php (“CHW Main Site”), a

user filling out the quote form on a phone can fill out all of the information and submit a quote

without ever scrolling far enough to see the disclosure, as seen here:




                                                21
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.72 Filed 05/18/21 Page 22 of 43




           138.   The same is true of filling out the form on a computer, where depending on your

monitor resolution and whether your browser is full screen or not, the disclosure may not be

visible:




                                                 22
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.73 Filed 05/18/21 Page 23 of 43




       139.    Even if a user scrolls down far enough, the disclosure on the CHW Main Site is

stylized in a light gray font against a white background, sandwiched between (on desktop) a

bright orange button, a bold “questions?” item, and normal black font copyright and disclaimer

information.




       140.    On the phone, it is styled similarly, but it is sandwiched below the bright orange

                                               23
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.74 Filed 05/18/21 Page 24 of 43




button, and above a multitude of award logos, as seen below:




       141.    Notably, when reviewing the source code for the CHW Main Site page design,

this disclaimer is stylized in “text-muted”, with a font size chosen to always be 80% the size of

other text on the page. No other text on the page is stylized in this manner.

       142.    In addition, none of Defendant’s disclosures (whether the CHW Price Site, the

CHW Main Site, or other sites independently reviewed) require any checkbox or similarly direct

or affirmative manifestation of assent.


                                                 24
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.75 Filed 05/18/21 Page 25 of 43




       143.      Second, none of Defendant’s disclosures disclose the possibility of artificial or

pre-recorded voice calls.

       144.      As discussed, “prior express written consent” requires the agreement to inform the

consumer of the possibility of “telemarketing calls using an automatic telephone dialing system

or an artificial or prerecorded voice.”

       145.      The disclosure on Defendant’s CHW Price Site states (with emphasis added):

              By entering my information and submitting for a free quote, I am
              providing express consent to be contacted via email, phone and text,
              including my wireless phone number, regarding product and servicing
              information using automated technology, even if it is registered on a
              federal, state, or corporate do not call list. I am not required to provide
              this consent in order to obtain goods or services from Choice Home
              Warranty. If my area is not covered, I may be referred to alternate trusted
              provider.

       146.      The disclosure on Defendant’s CHW Main Site states (with emphasis added):

              By entering my information and submitting for a free quote, I am
              providing express consent to be contacted via email, phone and text,
              including my wireless phone number, regarding products, service,
              discounts, promotions, offers, (including third-party discounts, offers, and
              promotions) and information using automated technology, even if it is
              registered on a federal, state, or corporate do not call list. I am not
              required to provide this consent in order to obtain goods or services from
              Choice Home Warranty. If my area is not covered, I may be referred to
              alternate trusted provider. Click Here to view full privacy policy.

       147.      These disclosures say nothing about pre-recorded or artificial voice calls, instead

mentioning only “automated technology.”

       148.      None of Defendant’s other sites reviewed provide any differently or specify

prerecorded/artificial voice.

       149.      Third, Defendant’s click-through privacy policy—linked to, upon information and

belief, only on the CHW Main Site—does not fare much better.

       150.      Defendant’s privacy policy states:

                                                  25
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.76 Filed 05/18/21 Page 26 of 43




                If you gave us your email address, Choice Home Warranty may use it
                from time to time to notify you of such things as new services, products,
                service offers, discounts, promotions, (including third-party discounts,
                offers, and promotions) to confirm transactions or information, or to
                assist with the completion of a quote. If you do not wish to be contacted
                by email for non-policy related communications, you may select the
                “unsubscribe” link at the bottom of any Choice Home Warranty email
                you receive. If you gave us your phone number, Choice Home Warranty
                may use it from time to time to notify you of such things as new services,
                products, service offers, discounts, promotions, (including third-party
                discounts, offers, and promotions) or to confirm transactions. Choice
                Home Warranty may also leave pre-recorded[sic] on any number you
                provided to us.

         151.     Here, the privacy policy says nothing about using automatic telephone dialing

systems and omits the words after “pre-recorded” to indicate what can be “left” pre-recorded.

         152.     Rather than pedantic, this is key: if the privacy policy was intended to give

Defendant the right to leave pre-recorded telemarketing messages, it would have made more

sense to include it in the previous sentence (e.g. “may use it from time to time to notify you,

using an automatic telephone dialing system or artificial or prerecorded voice, of such things

as…”).

         153.     Instead, Defendant’s privacy policy sets the “pre-recorded” language off in its

own sentence, with an “also”, indicating it is intended for something other than the telemarketing

purposes described in the preceding sentence (for example, it may have been intended to say

“pre-recorded voicemails related to account servicing” or “pre-recorded claims information”.)

         154.     The use of “pre-recorded” here versus “automated technology” in the on-site

disclosure also suggests Defendant understood the difference between the terms “automated” and

“pre-recorded.”

         155.     In short, Defendant’s disclosures are hidden, both in format and placement.

         156.     These disclosures are not apparent to the reasonable consumer and are therefore


                                                   26
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.77 Filed 05/18/21 Page 27 of 43




not clear and conspicuous.

         157.   As such, all of Defendant’s telemarketing calls to persons who provided their

information on any of Defendant’s quote forms are made without prior express written consent.

         158.   Further, and separately, at no point do any of Defendant’s disclosures on any of

its sites inform the consumer clearly and conspicuously of the possibility of pre-recorded or

artificial voice telemarketing calls.

         159.   It is thus not apparent to a reasonable consumer that they were consenting to pre-

recorded or artificial voice calls.

         160.   As such, all of Defendant’s pre-recorded or artificial voice telemarketing calls are

made without prior express written consent.

                                        DO-NOT-CALL LIST

         161.   The TCPA prohibits making “any telephone solicitation” to a telephone number

on the National Do-Not-Call Registry. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(c).

         162.   All of Defendant’s calls and texts to Plaintiff after he revoked consent were

“telephone solicitations.”

         163.   Plaintiff’s number was on the National Do-Not-Call Registry prior to the calls and

texts.

         164.   While the exact number of calls to Plaintiff’s telephone number will be

determined in discovery, as pled above, Plaintiff has received more than two such telemarketing

calls and text messages in a 12-month period after revocation, as required by 47 U.S.C. § 227(c)

for violations of § 227(c).

         165.   Accordingly, for violations of 47 C.F.R. § 64.1200(c), Plaintiff is entitled to an

additional $500 per text message.


                                                 27
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.78 Filed 05/18/21 Page 28 of 43




        166.   Plaintiff is entitled to an additional $1,500 per text message if Defendant’s actions

are found to be knowing or willful.

                                POLICIES AND PROCEDURES

        167.   As discussed, the TCPA prohibits making “any call for telemarketing purposes”

unless the caller has met the affirmative defense of instituting certain minimum standards for

maintaining an internal do-not-call list.

        168.   These standards include, among others, keeping a written policy, available upon

demand, for maintaining a do-not-call list, training personnel engaged in telemarketing on the

existence and use of the do-not-call list, and recording and honoring “do not call” requests. 47

CFR § 64.1200(d).

        169.   At the time of its calls to Plaintiff, Defendant did not have such a written policy,

nor did it train personnel engaged in telemarketing on the existence and use of the do-not-call

list.

        170.   Plaintiff requested the written policy via telephone on March 3, 2021, by calling

Defendant’s telephone number 1-888-531-5403.

        171.    On this call, Plaintiff spoke with Defendant’s employee “Dennis.”

        172.   On this call, Plaintiff repeatedly asked Dennis for a copy of Defendant’s do-not-

call policy.

        173.   Defendant’s employee Dennis indicated repeatedly that he was unable to provide

Plaintiff with the policy.

        174.   During this call, Defendant’s employee Dennis also placed Plaintiff on hold so he

could call someone else to ask if a copy of Defendant’s do-not-call policy could be provided to

Plaintiff.


                                                28
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.79 Filed 05/18/21 Page 29 of 43




           175.     When Dennis came back on the line, he stated again that he could not give

Plaintiff a copy of the policy.

           176.     At this point, with the conversation going nowhere, Plaintiff ended the call.

           177.     As such, even if Defendant did have a such a policy in place at the time of the

calls, Defendant’s failure and refusal to produce that policy make it not “available upon

demand”.

           178.     Furthermore, Defendant’s employees are not trained on honoring “do not call”

requests or any internal “do not call policy”.

           179.     To the contrary, Defendant refused to honor multiple do-not-call requests from

Plaintiff—including one made through the BBB—and responded rudely to one of Plaintiff’s

requests with “Excuse me for living.”

           180.     Furthermore, Defendant did not record and/or honor “do not call” requests, as

seen in Plaintiff’s futile efforts to stop the calls.

           181.     Plaintiff is not alone. The internet is full of complaints about Defendant’s failure

to honor do-not-call requests.

           182.     On Yelp,2 where Defendant has one star out of five, numerous reviewers

complain about Defendant’s calling practices. For example:

                  THEY WON'T STOP CALLING!! I decided not to choose then for our
                  home warranty. I receive about 4 calls a day. I have asked them
                  REPEATEDLY to remove me from their call list.... Yet, I continue to
                  receive calls.

                  Take it from me- Don't give them your number or email unless you are
                  absolutely sure you want them.

                  Choice, if you are reading this... STOP FREAKING CALLING ME!


2
    https://www.yelp.com/biz/choice-home-warranty-austin?q=list

                                                        29
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.80 Filed 05/18/21 Page 30 of 43




                 - Carol F., Tucson AZ, September 21, 2020

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                 this company SUCKS!!! I somehow got a calling list and they call me
                 multiple times a day! I've asked multiple people to remove my # but it
                 never happens…

                 - Nikki O., Carlsbad, CA, September 1, 2020


          183.         On the BBB website,3 Defendant has a 1.07/5 rating and 7,701 complaints closed

in the last three years, and 3,605 complaints closed in the last 12 months.

          184.         Many of these complaints are related to Defendant’s calling practices. For

example:

                 … On one call I spoke with a rep and told them to stop calling (9/2)… On
                 the most recent call (9/3), after I told them to stop calling, the rep told me
                 the way to get off the phone list was to sign up for their service. I told
                 him that's not how it works. I said I would report the company if they
                 continued contacting me. He was defiant and asked who I would report
                 them to. At this point, I consider their continued contact to be harassment
                 and want it stopped.

                 Complaint made September 3, 2020

                 ---

                 My contract is expiring today and the onslaught of phone calls and emails
                 has been UNRELENTING. I have received upwards of 5-6 calls per day
                 and multiple emails per day trying to get me to renew my policy. The
                 sales reps that I did talk to were pushy and aggressive and not
                 professional at all. When I would tell them to cease contact with me
                 completely, they would just hang up the phone.

                 Complaint made May 1, 2020

                 ---



3
    https://www.bbb.org/us/nj/edison/profile/home-warranty-plans/choice-home-warranty-0221-90048733/complaints

                                                       30
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.81 Filed 05/18/21 Page 31 of 43




              I've asked the representatives to stop calling my number. I have blocked
              several of the numbers and they continue to call from different numbers.
              When ever I speak with a live person to ask them to stop calls because I
              no longer want to due business with the company they just hang up. My
              most recent call was today at 3:34 PM central time from ###-###-####. I
              think this name was Al. 2/2###-###-#### at 3:34 central time.

              Complaint made February 24, 2020

              ---

               put    in     a    request       for    information    on  the    website
              ************************** earlier this month, as I was researching
              costs for home warranties . Within a minute, my phone was ringing with a
              pushy salesperson trying to sell me their plan. I have been receiving non-
              stop phone calls, morning, noon, and night since this time. When I block
              the number, they just call from a different number. When I request to be
              taken off of the calling list, they just hang up on me.

              Complaint made January 24, 2020

              ---

              I have received non stop calls from Choice Home Warranty after filling
              out information for an online quote. I have asked numerous times to place
              me on the do not contact list and stop calling me. Only to get harassed
              with an other new number from this company. This type of sale practice
              is ridiculous. Today alone I received six calls, on the hour every hour, by
              a different number. I blocked the number but they still could leave
              voicemails. This has to stop!

              Complaint made January 2, 2020

       185.         In fact, over the past three years, of the 178 “Advertising/Sales” complaints with

complaint details available on BBB, almost half appear to involve unwanted communications

after requests that Defendant stop contacting them, and most of these appear to involve phone

calls and emails (rather than just emails).

       186.         There is no other explanation for the consistency in Defendant’s refusal to honor

do-not-call requests (and the frequency with which people complain that when such requests are

made, Defendant hangs up) than a lack of meaningful training and/or policies and procedures on

                                                    31
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.82 Filed 05/18/21 Page 32 of 43




documenting and honoring do-not-call requests.

       187.    Accordingly, all of Defendant’s telemarketing calls to anyone, in the absence of

such a policy, and regardless of consent or equipment used, violate 47 U.S.C. § 227(c) through

47 C.F.R. § 64.1200(d).

                                 DEFENDANT’S LIABILITY

       188.    Defendant failed to obtain prior express written consent from Plaintiff prior to

placing telemarketing calls and texts to Plaintiff’s cellular telephone number using an automatic

telephone dialing system. This constitutes a violation of 47 U.S.C. § 227(b).

       189.    Defendant failed to obtain prior express written consent from Plaintiff prior to

placing telemarketing calls to Plaintiff’s telephone number using an artificial or pre-recorded

voice. This constitutes a violation of 47 U.S.C. § 227(b).

       190.    Defendant continued calling Plaintiff using an automatic telephone dialing system

after he asked Defendant to stop. This constitutes a violation of 47 U.S.C. § 227(b).

       191.    Defendant continued calling Plaintiff using a pre-recorded or artificial voice after

he asked Defendant to stop. This constitutes a violation of 47 U.S.C. § 227(b).

       192.    For violations of 47 U.S.C. § 227(b), Plaintiff is entitled to a minimum of $500

per call and text message.

       193.    Plaintiff is entitled to $1,500 per text message if Defendant’s actions are found to

be knowing or willful.

       194.    Defendant placed two or more telephone solicitations to Plaintiff, whose number

was on the National Do-Not-Call Registry at the time of the calls. This constitutes a violation of

47 U.S.C. § 227(c) through 47 C.F.R. § 64.1200(c).

       195.    Accordingly, for violations of 47 C.F.R. § 64.1200(c), Plaintiff is entitled to an


                                                32
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.83 Filed 05/18/21 Page 33 of 43




additional $500 per text message through 47 U.S.C. § 227(c).

       196.    Plaintiff is entitled to an additional $1,500 per text message if Defendant’s actions

are found to be knowing or willful.

       197.    Defendant placed two or more telemarketing calls to Plaintiff, despite not having

in place the required policies and procedures prior to making such calls. This constitutes a

violation of 47 U.S.C. § 227(c) through 47 C.F.R. § 64.6200(d).

       198.    Accordingly, for violations of 47 C.F.R. § 64.1200(d), Plaintiff is entitled to an

additional $500 per text message through 47 U.S.C. § 227(c).

       199.    Plaintiff is entitled to an additional $1,500 per text message if Defendant’s actions

are found to be knowing or willful.

       200.    Plaintiff has suffered concrete harm because of Defendant’s unwanted and

unsolicited telemarketing text messages and calls, including, but not limited to:

               •   Device storage;

               •   Data usage;

               •   Lost time tending to and responding to the unsolicited calls and             text

                   messages;

               •   Invasion of Privacy;

               •   Nuisance; and

               •   Increased risk of all of the above.

       201.    These concrete harms, among others, are sufficient for Article III standing.

                               CLASS ACTION ALLEGATIONS

       202.    Plaintiffs bring this action under Fed. R. Civ. P. 23 on behalf of six classes,

preliminarily defined as follows:

                                                 33
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.84 Filed 05/18/21 Page 34 of 43




       Since March 9, 2017, Plaintiff and all persons to whose telephone number
       Defendant CHW Group, Inc. placed (or had placed on its behalf) a telemarketing
       call using an artificial or pre-recorded voice when the number to which the call
       was placed was obtained through one of Defendant’s websites.

       (“Prerecord Class”)

       Since March 9, 2017, Plaintiff and all persons to whose telephone number
       Defendant CHW Group, Inc. placed (or had placed on its behalf) a telemarketing
       call using an artificial or pre-recorded voice after the person asked Defendant to
       stop calling, or words to that effect.

       (“Prerecord Revocation Class”)

       Since March 9, 2017, Plaintiff and all persons to whose cellular telephone number
       Defendant CHW Group, Inc. placed (or had placed on its behalf) a telemarketing
       call or text using an automatic telephone dialing system when the number to
       which the call was placed was obtained through one of Defendant’s websites.

       (“ATDS Class”)

       Since March 9, 2017, Plaintiff and all persons to whose cellular telephone number
       Defendant CHW Group, Inc. placed (or had placed on its behalf) a telemarketing
       call or text using an automatic telephone dialing system after the person asked
       Defendant to stop calling, or words to that effect.

       (“ATDS Revocation Class”)

       Since March 9, 2017, Plaintiff and all persons within the United States to whose
       telephone number Defendant CHW Group, Inc. placed (or had placed on its
       behalf) two or more telemarketing calls or messages in a 12-month period after
       the person asked Defendant to stop calling, or words to that effect, and the
       telephone number to which the calls or messages were sent was on the National
       Do-Not-Call Registry at the time of the messages.

       (“Registry Class”)

       Since March 9, 2017, Plaintiff and all persons within the United States to whose
       telephone number Defendant CHW Group, Inc. placed (or had placed on its
       behalf) two or more telemarketing calls or messages in a 12-month period.

       (“Policy Class”)

(These classes are collectively referred to herein as the “Classes.”)




                                                 34
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.85 Filed 05/18/21 Page 35 of 43




       203.    Excluded from the Classes are Defendant and any entities in which Defendant has

a controlling interest; Defendant’s agents and employees; any Judge and Magistrate Judge to

whom this action is assigned and any member of their staffs and immediate families, and any

claims for personal injury, wrongful death, and/or emotional distress.

       204.    The putative Class members for whose benefit this action is brought are so

numerous that joinder of all members is impracticable.

       205.    The exact number and identities of the persons who fit within the Classes are

ascertainable in that Defendant and third parties maintain written and electronically stored data

showing:

           a. The time period(s) during which Defendant placed its calls and text messages;

           b. The telephone numbers to which Defendant placed its calls and text messages;

           c. The name, address, and email address associated with the telephone numbers to

               which Defendant placed its calls and text messages;

           d. The source of the telephone numbers to which Defendant placed its calls and text

               messages;

           e. The purposes and scripts for Defendant’s calls and text messages;.

       206.    The Classes are comprised of thousands of individuals nationwide.

       207.    There are common questions of law and fact affecting the rights of putative,

including, inter alia, the following:

           a. Whether Defendant or someone acting on its behalf places telemarketing calls and

               text messages;

           b. Whether Defendant obtains prior express written consent;




                                                35
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.86 Filed 05/18/21 Page 36 of 43




             c. Whether Defendant or someone acting on its behalf places its calls and text

                 messages using an automatic telephone dialing system;

             d. Whether Defendant or someone acting on its behalf places its calls using an

                 artificial or pre-recorded voice;

             e. Whether Defendant or the entity with which it contracts places solicitation calls

                 and text messages to telephone numbers registered on the National Do-Not-Call

                 Registry;

             f. Whether Defendant had the required policies and procedures prior to making

                 telemarketing calls;

             g. Whether Plaintiff and the Classes were damaged thereby, and the extent of

                 damages for such violations; and

             h. Whether Defendant should be enjoined from engaging in such conduct in the

                 future.

          208.   Plaintiff is a member of the Classes in that Defendant placed two or more calls or

texts for telemarketing purposes, some of which used a pre-recorded voice and some of which

used an automatic telephone dialing system, in a one-year period to his telephone number,

without his prior express written consent, after he asked Defendant to stop, and while his

telephone number was on the National Do-Not-Call Registry.

          209.   Plaintiff’s claims are typical of the claims of the putative Class members in that

they arise from Defendant’s uniform conduct and are based on the same legal theories as these

claims.

          210.   Plaintiff and all putative Class Members have also necessarily suffered concrete

harm in addition to statutory damages, as all Members of the Classes spent time tending to


                                                     36
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.87 Filed 05/18/21 Page 37 of 43




Defendant’s unwanted calls, lost space on their devices, and suffered a nuisance and an invasion

of their privacy.

          211.   Plaintiff has no interests antagonistic to, or in conflict with, the Classes.

          212.   Plaintiff will thoroughly and adequately protect the interests of the Classes,

having retained qualified and competent legal counsel to represent himself and the Classes.

          213.   Defendant has acted and refused to act on grounds generally applicable to the

Classes, thereby making injunctive and declaratory relief appropriate for the Classes.

          214.   The prosecution of separate actions by individual class members would create a

risk of inconsistent or varying adjudications.

          215.   A class action is superior to other available methods for the fair and efficient

adjudication of the controversy since, inter alia, the damages suffered by each class member

make individual actions uneconomical.

          216.   Common questions will predominate, and there will be no unusual manageability

issues.

                                   FIRST CAUSE OF ACTION
                       Violations of the TCPA, 47 U.S.C. § 227(b)(1)(A)(iii)
                         (On Behalf of Plaintiff and the Prerecord Class)

          217.   Plaintiff and the proposed Prerecord Class incorporate the foregoing allegations as

if fully set forth herein.

          218.   Defendant made, or had made on its behalf, telemarketing telephone calls to

Plaintiff’s and putative Prerecord Class Members’ telephone numbers without prior express

written consent.

          219.   These telemarketing telephone calls used an artificial or prerecorded voice.




                                                   37
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.88 Filed 05/18/21 Page 38 of 43




        220.    Defendant did not obtain express written consent prior to making these

telemarketing calls using an artificial or pre-recorded voice to putative Prerecord Class members.

        221.    The calls were not placed for “emergency purposes” as defined by 47 U.S.C. §

227(b)(1)(A)(i).

        222.    Plaintiff and putative Prerecord Class Members are entitled to an award of $500

in statutory damages for each text message, pursuant to 47 U.S.C. § 227(b)(3)(B).

        223.    Plaintiff and putative Prerecord Class Members are entitled to an award of treble

damages in an amount up to $1,500 for each call made knowingly and/or willfully, pursuant to

47 U.S.C. § 227(b)(3).

                                SECOND CAUSE OF ACTION
                      Violations of the TCPA, 47 U.S.C. § 227(b)(1)(A)(iii)
                   (On Behalf of Plaintiff and the Prerecord Revocation Class)

        224.    Plaintiff and the proposed Prerecord Revocation Class incorporate the foregoing

allegations as if fully set forth herein.

        225.    Defendant made, or had made on its behalf, telemarketing telephone calls to

Plaintiff’s and putative Prerecord Revocation Class Members’ telephone numbers after Plaintiff

and putative Prerecord Revocation Class Members told Defendant to stop calling, or words to

that effect.

        226.    These telemarketing telephone calls used an artificial or prerecorded voice.

        227.    The calls were not placed for “emergency purposes” as defined by 47 U.S.C. §

227(b)(1)(A)(i).

        228.    Plaintiff and putative Prerecord Revocation Class Members are entitled to an

award of $500 in statutory damages for each text message, pursuant to 47 U.S.C. § 227(b)(3)(B).




                                                38
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.89 Filed 05/18/21 Page 39 of 43




        229.    Plaintiff and putative Prerecord Revocation Class Members are entitled to an

award of treble damages in an amount up to $1,500 for each call made knowingly and/or

willfully, pursuant to 47 U.S.C. § 227(b)(3).

                                  THIRD CAUSE OF ACTION
                      Violations of the TCPA, 47 U.S.C. § 227(b)(1)(A)(iii)
                          (On Behalf of Plaintiff and the ATDS Class)

        230.    Plaintiff and the proposed ATDS Class incorporate the foregoing allegations as if

fully set forth herein.

        231.    Defendant made, or had made on its behalf, telemarketing telephone calls to

Plaintiff’s and putative ATDS Class Members’ cellular telephone numbers without prior express

written consent.

        232.    These telemarketing calls used an automatic telephone dialing system.

        233.    Defendant did not obtain express written consent prior to making these

telemarketing calls using an automatic telephone dialing system to putative ATDS Class

members.

        234.    The calls were not placed for “emergency purposes” as defined by 47 U.S.C. §

227(b)(1)(A)(i).

        235.    Plaintiff and putative ATDS Class Members are entitled to an award of $500 in

statutory damages for each text message, pursuant to 47 U.S.C. § 227(b)(3)(B).

        236.    Plaintiff and putative ATDS Class Members are entitled to an award of treble

damages in an amount up to $1,500 for each call made knowingly and/or willfully, pursuant to

47 U.S.C. § 227(b)(3).


                                FOURTH CAUSE OF ACTION
                      Violations of the TCPA, 47 U.S.C. § 227(b)(1)(A)(iii)
                    (On Behalf of Plaintiff and the ATDS Revocation Class)

                                                39
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.90 Filed 05/18/21 Page 40 of 43




          237.   Plaintiff and the proposed ATDS Revocation Class incorporate the foregoing

allegations as if fully set forth herein.

          238.   Defendant made, or had made on its behalf, telemarketing telephone calls to

Plaintiff’s and putative ATDS Revocation Class Members’ telephone numbers after Plaintiff and

putative ATDSd Revocation Class Members told Defendant to stop calling, or words to that

effect.

          239.   These telemarketing telephone calls used an automatic telephone dialing system.

          240.   The calls were not placed for “emergency purposes” as defined by 47 U.S.C. §

227(b)(1)(A)(i).

          241.   Plaintiff and putative ATDS Revocation Class Members are entitled to an award

of $500 in statutory damages for each text message, pursuant to 47 U.S.C. § 227(b)(3)(B).

          242.   Plaintiff and putative ATDS Revocation Class Members are entitled to an award

of treble damages in an amount up to $1,500 for each call made knowingly and/or willfully,

pursuant to 47 U.S.C. § 227(b)(3).


                                     FIFTH CAUSE OF ACTION
                               Violations of the TCPA, 47 U.S.C. § 227(c)
                             (On Behalf of Plaintiff and the Registry Class)

          243.   Plaintiff and the proposed Registry Class incorporate the foregoing allegations as

if fully set forth herein.

          244.   Defendant made, or had made on its behalf, telephone calls and text messages

constituting telephone solicitations to Plaintiff’s and putative Registry Class Members’ telephone

numbers.




                                                   40
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.91 Filed 05/18/21 Page 41 of 43




        245.    Plaintiff’s and putative Registry Class Members’ telephone numbers were all on

the National Do-Not-Call Registry at the time of the text messages.

        246.    Plaintiff and putative Registry Class Members each received two or more such

calls and text messages in a 12-month period.

        247.    Plaintiff and putative Registry Class Members are entitled to an award of $500 in

statutory damages for each telephone solicitation call and text message pursuant to 47 U.S.C. §

227(c)(5).

        248.    Plaintiff and putative Registry Class Members are entitled to an award of treble

damages in an amount up to $1,500 for each telephone solicitation call and text message made

knowingly and/or willfully, pursuant to 47 U.S.C. § 227(c)(5).

                                  SIXTH CAUSE OF ACTION
                            Violations of the TCPA, 47 U.S.C. § 227(c)
                           (On Behalf of Plaintiff and the Policy Class)

        249.    Plaintiff and the proposed Policy Class incorporate the foregoing allegations as if

fully set forth herein.

        250.    Defendant placed numerous calls and texts for telemarketing purposes to

Plaintiff’s and putative Policy Class Members’ telephone numbers.

        251.    Defendant did so despite not having a written policy pertaining to “do not call”

requests.

        252.    Defendant did so despite not having such a policy available “upon demand.”

        253.    Defendant did so despite not training its personnel on the existence or use of any

internal “do not call” list or policy.

        254.    Defendant did so despite not recording or honoring “do not call” requests.




                                                41
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.92 Filed 05/18/21 Page 42 of 43




       255.    Defendant placed two or more telemarketing telephone calls and texts to Plaintiff

and putative Policy Class Members’ telephone numbers in a 12-month period.

       256.    Plaintiff and putative Policy Class Members are entitled to an award of $500 in

statutory damages telephone call pursuant to 47 U.S.C. § 227(c)(5).

       257.    Plaintiff and putative Policy Class Members are entitled to an award of treble

damages in an amount up to $1,500 telephone call, pursuant to 47 U.S.C. § 227(c)(5).

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

following relief:

       A.      An order certifying the Classes as defined above, appointing Plaintiff as the

representative of the Classes and appointing his counsel as Class Counsel;

       B.      An order declaring that Defendant’s actions, as set out above, violate 47 U.S.C.

§§ 227(b) and (c);

       C.      An award of injunctive and other equitable relief as necessary to protect the

interests of the Classes, including, inter alia, an order prohibiting Defendant from engaging in

the wrongful and unlawful acts described herein;

       D.      An award of statutory damages;

       E.      An award of treble damages; and

       F.      Such other and further relief that the Court deems reasonable and just.

                                         JURY DEMAND

       Plaintiff requests a trial by jury of all claims that can be so tried.

Dated: May 18, 2021                                s/ Gabriel S. Sanchez_________
                                                   Gabriel S. Sanchez, Esquire
                                                   THE MAUL LAW GROUP, PLLC
                                                   2401 Camelot Ct., Suite M

                                                  42
Case 1:21-cv-00226-PLM-PJG ECF No. 7, PageID.93 Filed 05/18/21 Page 43 of 43




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                                     s/ Jeremy M. Glapion_________
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                                     (Pro Hac Vice to be filed)




                                     43
